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 7     Company

 8
                               IN THE UNITED STATES DISTRICT COURT
 9
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
10
                                           FRESNO DIVISION
11

12
       FEDERAL AGRICULTURAL MORTGAGE                      Case No. 1:24-cv-01455-KES-SAB
13     CORPORATION,
                                                          ROOSTER CAPITAL IV LLC’S
14                       Plaintiff,                       OMNIBUS OPPOSITION TO
                                                          RECEIVER LANCE MILLER’S
15            v.                                          MOTIONS TO BE HEARD ON
                                                          MARCH 10, 2025
16     ASSEMI BROTHERS, LLC et al.,
                                                          Date:       March 10, 2025
17                       Defendants.                      Time:       1:30 p.m.
                                                          Ctrm:       6
18                                                        Judge:      Hon. Kirk E. Sherriff

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                                                                   ROOSTER CAPITAL IV LLC’S OMNIBUS
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 1            Rooster Capital IV, LLC, a Delaware Limited Liability Company (“Rooster”) provides

 2     this omnibus opposition to the motion of receiver Lance Miller (“Receiver”) for (i) for an order

 3     authorizing engagement and compensation of Pearson Realty (“Pearson”) as real estate broker

 4     (the “Broker Engagement Motion”) [Dkt. # 48]; (ii) for an order authorizing engagement and

 5     compensation of Capstone Capital Markets LLC (“Capstone”) as investment banker (the

 6     (“Banker Engagement Motion”) [Dkt. # 46;] and (iii) for an order establishing marketing, bid, and

 7     auction procedures for broker marketed properties (the “Auction Motion”) [Dkt. #50] (and

 8     collectively, the “March 10 Motions”) on the following grounds.

 9                                             I. INTRODUCTION
10            Rooster principally opposes the relief sought in the March 10 Motions for lack of proper

11     notice. Rooster is the second position lien creditor on the real property which the Receiver seeks

12     to ultimately sell. These motions directly bear on the sale of this real property and, if granted as

13     written, will result in a potential impairment or reduction of Rooster’s lien rights. Despite this

14     fact, Rooster, nor any other junior lien creditor, was provided notice of the March 10 Motions.

15     Rooster only learned of the motions when counsel discovered their filing on the docket after the

16     fact. The failure to provide proper notice violates Rooster’s due process rights and the motions

17     should be denied on that basis alone.

18            As to the substance of the March 10 Motions, Rooster has had limited time to review due

19     to the failure of notice, and without waiving any rights as to notice, has identified certain issues

20     with the March 10 Motions that must be corrected before the auction and engagements are

21     authorized. Most importantly, the Auction Motion seeks approval of any sale as free and clear of

22     liens, something that Receiver expressly stated he does not seek in his ex parte application

23     requesting shortened time. Further, the Auction Motion must provide Rooster with equal

24     consultations rights as given to Federal Agricultural Mortgage Corporation (“Farmer Mac”).

25     Finally, the Banker Engagement Motion and Broker Engagement Motion include requests for fees

26     that are not justified and which should be removed as a condition of approval.

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 1                      II. PERTINENT FACTS AND PROCEDURAL HISTORY

 2     A.     The Farmer Mac and Rooster Loans

 3            Between January 8, 2018 and February 2, 2023, the various Borrower Defendants (as

 4     defined in the Complaint) in this action signed a series of notes (the “Farmer Mac Notes”) in

 5     favor of Conterra Agricultural Capital, LLC (“CAC”), which upon origination, were assigned to

 6     Farmer Mac. Compl. ¶ 18 [Dkt. #1]. The Farmer Mac Notes are secured by deeds of trust on real

 7     property (the “Farmer Mac Deeds of Trust”) in Fresno County, Kings County, and Kern County

 8     (the “Real Property Collateral”). Compl. ¶ 20 [Dkt. #1]. The Borrower Defendants defaulted on

 9     the Farmer Mac Notes and assert a balance owed of no less than $41,833,201.59. Compl. ¶ 240

10     [Dkt. #1].

11            Rooster’s interest in this matter is as the second position lender to the Borrower

12     Defendants. On February 2, 2023, defendants Maricopa Orchards, LLC, Copper Avenue

13     Investments, LLC, C&A Farms, LLC, ACAP Farms, LLC, Willow Avenue Investments, LLC,

14     Lincoln Grantor Garms, LLC, Cantua Orchards, LLC, and Gardon Farms, LLC (“the Rooster

15     Borrowers”) signed a Note (the “Rooster Note”) in favor of CAC in the amount of $7,400,000.

16     Note, Ex. A to the Declaration of Mark A. Smith (the “Smith Decl.”). The Rooster Note is

17     secured by the same real property as the Real Property Collateral pursuant to deeds of trust

18     recorded in Fresno County, Kings County, and Kern County (the “Rooster Deeds of Trust”).

19     Smith Decl. ¶ 9; Exs. B-D to Smith Decl. Upon origination, the Rooster Note and Rooster Deeds

20     of Trust were assigned by CAC to Rooster. Smith Decl. ¶ 8; Exs. B-D to Smith Decl. The

21     Rooster Deeds of Trust are in second position to the Farmer Mac Deeds of Trust. Smith Decl. ¶

22     10.

23            The Rooster Borrowers have defaulted on payments owed on, and other terms and

24     conditions of, the Rooster Note, along with other related loan documents. Smith Decl. ¶ 12. As

25     of February 28, 2025, the current balance of the Rooster Note is $8,400,606.46, constituting

26     $7,400,000 in unpaid principal balance, $961,871.62 in interest, and $38,734.84 in fees and

27     charges. Smith Decl. ¶ 13.

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 1     B.     Procedural History

 2            This action was initiated by the November 27, 2024 complaint of Farmer Mac. Compl.,

 3     Dkt. #1.

 4            On January 3, 2025, Receiver was appointed based on an unopposed ex parte application

 5     of Farmer Mac. Order Appointing Receiver [Dkt. #29].

 6            On February 25, 2025, Receiver filed each of the March 10 Motions, along with

 7     concurrent ex parte applications seeking that each be heard on shortened time. Ex Parte

 8     Applications [Dkt. #s 47, 49, 51]. Notice of each ex parte application was provided solely by

 9     ECF notice, meaning that service was only as to the parties in the case. Ex Parte Applications

10     [Dkt. # 47, 49, 51]. Rooster is not a party, and thus did not receive notice. Smith Decl. ¶ 16.

11            On February 26, 2025, this Court entered a minute order setting hearing on March 10,

12     2025 with opposition due on March 3, 2025. Minute Order [Dkt. #51]. Rooster only discovered

13     when it learned from the parties to the action that the Receiver might attempt to sell the Real

14     Property Collateral. Smith Decl. ¶ 14. Rooster’s counsel then discovered the March 10 Motions

15     on the docket. Smith Decl. ¶ 15.

16                                             III. ARGUMENT

17     A.     The March 10 Motions Should Be Denied for Failure to Provide Notice to Rooster
              and Other Lien Creditors
18

19            The Supreme Court has set forth the requirement of notice regarding a proceeding as

20     follows:

21                    An elementary and fundamental requirement of due process in any
                      proceeding which is to be accorded finality is notice reasonably
22                    calculated, under all the circumstances, to apprise interested parties
                      of the pendency of the action and afford them an opportunity to
23                    present their objections. []. The notice must be of such nature as
                      reasonably to convey the required information, [] and it must afford
24                    a reasonable time for those interested to make their appearance.

25            Mullane v. C. Hanover Bank & Tr. Co., 339 U.S. 306, 314 (1950).

26            Notice of the March 10 Motions was not provided to Rooster. Smith Decl. ¶ 16. Under

27     Mullane, the failure to do so requires denial of the March 10 motions.

28            First, there can be no doubt that Rooster is an interested party in this matter. A party is

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 1     legally interested in a matter if it has “an actual interest in the controversy, as distinguished from

 2     a nominal party.”); Truck Ins. Exch. v. Kaiser Gypsum Co., Inc., 602 U.S. 268, 279 n.3 (2024).

 3     This is met by a party “whose pecuniary interest is directly affected.” Id. at 279 n.3 & n.4

 4     (collecting authorities).

 5             Here, the Broker Engagement Motion and the Banker Engagement Motion both propose

 6     that the fees for the services provided by each part are to be paid from the sale proceeds. The

 7     Receiver has stated that “[t]he Receiver will file a separate motion with the Court seeking

 8     authority to sell the Broker Properties free and clear of all liens, claims, encumbrances, and other

 9     interests at the appropriate time.” Ex Parte Application on Auction Motion at p.2:17-19 [Dkt.

10     #51]. If a free and clear sale is authorized which does not pay Rooster and other junior creditor’s

11     liens in full, then any fees charged by Capstone will constitute money not paid to the junior

12     lienholders. A proceeding which affects the right to recovery on valid security interest grants the

13     lienholders a direct pecuniary interest in the matter. See In re Ctr. Wholesale, Inc., 759 F.2d

14     1440, 1450 (9th Cir. 1985); In re Loloee, 241 B.R. 655, 663 (B.A.P. 9th Cir. 1999).

15             And even if that were not the case, the Banker Engagement Motion proposes to pay

16     Capstone a minimum transaction fee, retainer fees, and termination fees. See Engagement

17     Agreement § 3 [Dkt. 46-2]. These fees will be paid via super priority Receiver’s Certificates on

18     the Real Property Collateral. Order Appointing Receiver § 4.j [Dkt. # 29]. Therefore, any

19     payment to Capstone will have a direct pecuniary effect on the payment to junior lienholders

20     whose liens values will be pushed down by any payments to the engaged professionals. Rooster

21     thus has a direct pecuniary interest in the fees charged.

22             For the same reason, Rooster and junior lienholders have a direct pecuniary interest in the

23     Auction Motion. Since the auction may result in the termination of junior liens without payment

24     in full, Rooster has an interest in ensuring that the auction is conducted in a manner that equally

25     balances its rights and interests with that of Farmer Mac. The same applies to junior lienholders.

26     Accordingly, Rooster is an interested party as to the Auction Motion.

27             As interested parties, the notice that Rooster is entitled to “must be of such nature as

28     reasonably to convey the required information” and “it must afford a reasonable time for those
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 1     interested to make their appearance.” Here, Rooster only learned of these motions from

 2     reviewing the docket of the case, leading to a scramble to file an opposition. Smith Decl. ¶¶ 14-

 3     15. This is not sufficient time given that opposition is due on March 3, three business days after

 4     the hearing was set on February 26. See Ctr. Wholesale, Inc., 759 at 1450 (“the one-day notice

 5     violated the requirements of the Due Process Clause because the notice was insufficient to permit

 6     Owens-Corning to adequately prepare for the impending hearing in which Judge King approved

 7     the CCO”). It is unclear if the other junior lienholders are aware of this motion at all. Notice was

 8     not provided in accordance with the requirements of due process. An order without proper notice

 9     is void. Id. The Court should deny these motions until proper notice is provided to all lien

10     creditors.

11     B.      Opposition to the Auction Motion
12             Despite its constitutionally insufficient notice, and without waiving any rights as to notice,

13     Rooster has reviewed the Auction Motion and is able to provide the following preliminary

14     objections.

15             First, any order on the Auction Motion should clearly state that the order does not

16     authorize the sale free and clear of liens. As noted above, the ex parte application clearly states

17     that the Auction Motion does not seek authority for a free and clear sale, but that such authority

18     will only be authorized, if at all, through a later filed motion. Ex Parte Application on Auction

19     Motion at p.2:17-19 [Dkt. #51].

20             However, the Auction Motion itself states that “[t]he Receiver is seeking to sell the Broker

21     Property(ies) free and clear of all Interests.” Auction Motion at p.8:2-3 [Dkt. #50]. The proposed

22     order on the Auction Motion includes the same language. Proposed Order at p.5:11-15, p.5:10:26

23     [Dkt. 50-2]. Thus the relief sought by the Auction Motion does not reflect what was represented

24     to the Court when the Receiver sought a hearing on shortened notice.

25             Further, any free and clear sale is void without proper notice to all lienholders. In re Ex-

26     Cel Concrete Co., Inc., 178 B.R. 198, 205 (B.A.P. 9th Cir. 1995) (“the lack of any notice to

27     Citicorp constituted constitutional lack of due process which could not confer in personam

28     jurisdiction on the bankruptcy court to adjudicate Citicorp's property right”). As stated above,
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 1     notice was not provided by any recognized method of service. Thereof, any free and clear order

 2     is jurisdictionally void.

 3             Any final order on the Auction Motion should clarify that the order does not authorize that

 4     any sale will be free of clear of liens unless such relief is sought and granted on a later date.

 5             Second, the proposed order on the Auction Motion provides that the Receiver will consult

 6     with Farmer Mac regarding certain issues, including the ability of any bidder to close, the form of

 7     the purchase and sale agreement, the designation as a bidder of a stalking horse, and the right to

 8     reset deadlines. Proposed Order pp.4-5 [Dkt. 50-2]. As a junior lien creditor, Rooster has an

 9     equal, and likely greater, interest in ensuring that any auction is conducted in a manner likely to

10     result in the greatest return to all creditors. Rooster should be provided consultation rights equal

11     to that granted to Plaintiff. 1

12     C.      Opposition to the Banker Engagement Motion
13             Despite its constitutionally insufficient notice, and without waiving any rights as to notice,

14     Rooster has reviewed the Banker Engagement Motion and is able to provide the following

15     preliminary objections.

16             First, the Engagement Agreement for Capstone (the “Banker Engagement Agreement”),

17     attached to Declaration of Skye Root, provides for a two-tier fee structure. For property listed as

18     “Sale Property”, and described on Exhibit B to the Banker Engagement Agreement, there will be

19     1% transaction fee. For property listed as “Excluded Parcels”, and described on Exhibit C of the

20     Banker Engagement Agreement, there is a 2% transaction fee. Engagement Agreement § 3(c)

21     [Dkt. #46-2]. In the Banker Engagement Agreement, Exhibit C is blank with no properties

22     currently listed as Excluded Property. However, “Sale Property may be reclassified as Excluded

23     Parcels, and vice versa, by a written agreement of the Receiver and Capstone.” Engagement

24     Agreement § 1 [Dkt. #46-2].

25             There is no language in the engagement agreement or elsewhere explaining the difference

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27       Rooster intends, pursuant to Federal Rule of Civil Procedure 24, to file a motion for intervention
       in this case. However, as Rooster has not had the time to do so given the shortened notice of this
28     motion, and as this motion seeks relief directly affecting Rooster, intervention is not necessary for
       it to bring this opposition.
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 1     between Sale Property and Excluded Parcels, or criteria for each. Accordingly, the Receiver can

 2     agree to pay Capstone a 2% fee on any Sale Property for any or no reason at all. This is

 3     inappropriate as any increase in fees may come at the direct cost to junior lienholders. Any

 4     transfer of Sale Property to Excluded Parcels should be either disallowed or conditioned upon

 5     reasonable and objective criteria justifying the reclassification.

 6              Second, the Banker Engagement Agreement provides for a minimum transaction fee of

 7     $5,000,000. Engagement Agreement § 3(c)(i) [Dkt. #46-2]. Capstone’s fee is thus fixed unless it

 8     achieves a cumulative sale price of Sale Property of over $50 million (or of $25 million of

 9     Excluded Property). The Banker Engagement Motion provides no evidence that this term was

10     negotiated, that other equally qualified investment bankers would require a similar minimum fee,

11     or even that this fee is necessary at all. As part of the Receiver’s motion, he requests the Court

12     excuse Capstone from recording time because “Capstone does not keep detailed time records” as

13     “its compensation is results based.” Banker Engagement Motion at p.11:15-16 [Dkt. # 46].”

14     There is no evidence here that a backstop is required to coerce Capstone to agree to an otherwise

15     undesirable engagement. The minimum fee is inappropriate for a theoretically success-based

16     engagement and should be removed from the Banker Engagement Agreement.

17              Third, the Banker Engagement Agreement provides for an Abandonment Fee if Receiver

18     terminates the Banker Engagement Agreement without cause. The amount of the fee varies

19     depending on the phase of the engagement at the time of abandonment. Engagement Agreement

20     § 6 [Dkt. #46-2]. Rooster does not necessarily object to these fees, but Receiver should provide

21     some justification as to how they were negotiated. Further, as Rooster may be forced to bear

22     these fees as a junior creditor to any Receiver Certificates, it should be consulted by Receiver

23     before Receiver exercises any right to terminate the Banker Engagement Agreement without

24     cause.

25              Fourth, the Banker Engagement Agreement provides that Receiver agrees to fully

26     indemnify Capstone for acts taken under the Banker Engagement Agreement unless the acts by

27     Capstone are found by a court or tribunal to be “solely the result of Capstone’s gross negligence

28     or willful misconduct.” Engagement Agreement § 8 [Dkt. #46-2]. Simply put, there is no reason
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 1     that Capstone should be indemnified for conduct ultimately found to meet simple negligence, and

 2     there is no evidence in the Banker Engagement Agreement that such a clause is necessary to

 3     secure the engagement. Indeed, the Broker Engagement Motion does not include any

 4     indemnification language at all.

 5     D.     Opposition to the Broker Engagement Motion
 6            Despite its constitutionally insufficient notice, and without waiving any rights as to notice,

 7     Rooster has reviewed the Broker Engagement Motion and is able to provide the following

 8     preliminary objections.

 9            The sole objection of Rooster is to the commission of the proposed broker, Pearson. The

10     Listing Agreement provides for a sliding scale between 4% and 1% depending on the “Transfer

11     Sales Price”, with a commission of 1% for anything above $500,000,000. Listing Agreement, Ex.

12     B (Dkt. #48-2]. The Broker Engagement Motion does not provide any evidence that these fees

13     were negotiated, or if so, if they are market rate based on the amount of the sale. The Court

14     should deny the motion without such evidence to confirm the fees are fair and market based.

15                                            IV. CONCLUSION
16            For the reasons set forth above, the Court should deny each of the March 10 Motions.

17
       Dated: March 3, 2025                              MILLER NASH LLP
18

19
                                                          By: /s/ Bernie Kornberg
20                                                            Bernie Kornberg
                                                              Jack Wallan
21
                                                         Attorneys for Interested Party
22                                                       Rooster Capital IV, LLC, a Delaware Limited
                                                         Liability Company
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 1                                            PROOF OF SERVICE

 2             I, Bernie Kornberg, declare:

 3            I am a citizen of the United States and employed in Los Angeles County, California. I am
       over the age of eighteen years and not a party to the within-entitled action. My business address
 4     is 340 Golden Shore, Suite 450, Long Beach, California 90802.

 5             On March 3, 2025, I electronically filed the attached documents:

 6                        ROOSTER CAPITAL IV LLC’S OMNIBUS OPPOSITION
                          TO RECEIVER LANCE MILLER’S MOTIONS TO BE
 7                        HEARD ON MARCH 10, 2025

 8                        DECLARATION OF MARK A. SMITH IN SUPPORT OF
                          ROOSTER CAPITAL IV LLC’S OMNIBUS OPPOSITION
 9                        TO RECEIVER LANCE MILLER’S MOTIONS TO BE
                          HEARD ON MARCH 10, 2025
10
       with the Clerk of the court using the CM/ECF system which will then send a notification to each
11     registered user in the Case.

12     Further, on the same date, I provided service of the attached documents to Brookfield Special
       Investments by email copies to their counsel, Ira Kharasch at ikharasch@pszjlaw.com.
13
               Executed on March 3, 2025, at Long Beach, California.
14

15

16                                                  /s/ Bernie Kornberg

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       4905-9142-9154.2
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